



   MARY'S OPINION HEADING                                           




		NO. 12-04-00004-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




HERBERT FEIST,§
	APPEAL FROM THE 369TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


SUN A BERG, ET AL.,

APPELLEES§
	ANDERSON COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This pro se appeal is being dismissed for failure to comply with the Texas Rules of Appellate
Procedure.  Tex. R. App. P. 42.3(c).  The judgment in the instant case was signed on December 21,
2003.  Thereafter, on January 2, 2004, Appellant filed a notice of appeal which failed to contain the
information required by Rule 25.1(e), i.e., a certificate of service showing service on all parties to
the trial court's judgment.  

	On January 9, 2004, Appellant was notified pursuant to Tex. R. App. P. 37.1 that the notice
of appeal was defective for failure to comply with Rule 25.1(e).  He was further notified that unless
he filed a corrected notice of appeal on or before February 9, 2004, the appeal would be referred to
the court for dismissal.  Tex. R. App. P. 42.3.   

	On January 20, 2004, Appellant failed an amended notice of appeal, but failed to correct the
defect.  Therefore, this appeal is dismissed for failure to comply with the Texas Rules of Appellate
Procedure.  Tex. R. App. P. 42.3(c).

Opinion delivered February 11, 2004.

Panel consisted of Worthen, C.J., Griffith, J., and DeVasto, J.	

	

	

(PUBLISH)


